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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NORTH DAKOTA

Dr. Fiona Axelsson,

                               Plaintiff,              STIPULATION FOR PROTECTIVE
                                                                 ORDER
        vs.

University of North Dakota School of Medicine                 Case No. 3:22-cv-00056
& Health Sciences; Sanford; Sanford Health; and
North Dakota Professional Health Program,

                               Defendants.

 [¶1]   Upon stipulation of the parties for an order pursuant to Fed. R. Civ. P. 26(c) that

 confidential information be disclosed only in designated ways:
        1.      As used in the Protective Order, these terms have the following meanings:

                “ Attorneys” means counsel of record;

                “Confidential” documents are documents that contain information protected
                under state or federal law that are designated pursuant to paragraph 2;

                “Documents” are all materials within the scope of Fed. R. Civ. P. 34;

                “Outside Vendors” means messenger, copy, coding, and other clerical­services
                vendors not employed by a party or its Attorneys; and

                “Written Assurance” means an executed document in the form attached as
                Exhibit A.

        2.      A Party may designate a document “Confidential” to protect information that is

 protected under state or federal law as authorized under Fed. R. Civ. P. 26(c).

        3.      All Confidential documents, along with the information contained in the

 documents, shall be used solely for the purpose of this action, and no person receiving such

 documents shall directly or indirectly use, transfer, disclose, or communicate in any way the

 documents or their contents to any person other than those specified in paragraph 4. Any

 other use is prohibited.
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       4.      Use and Disclosure of any Confidential document shall be limited to:

               (a)    The Court and its staff;

               (b)    Attorneys, their law firms, partners and associate attorneys, and any
                      persons regularly employed by such attorneys or their firms when working
                      in connection with this action under the direct supervision of partners or
                      associate attorneys of their firm; and their Outside Vendors;

               (c)    Persons shown on the face of the document to have authored or
                      received it;

               (d)    Court reporters engaged for depositions;

               (e)    The parties to this action and/or their insurers or self-insurers and, in
                      case of corporate parties, their officers, officials, directors, or
                      employees, to the extent they are assisting counsel in the conduct of
                      this litigation;

               (f)    Any witness whose testimony or assistance is required for a claim or
                      defense;

               (g)    Outside independent persons (i.e., persons not currently or formerly
                      employed by, consulting with, or otherwise associated with any party)
                      who are retained by a party or its Attorneys to provide assistance as
                      mock jurors or focus group members or the like, or to furnish technical or
                      expert services, and/or to give testimony in this action.

       5.      Third parties producing documents in the course of this action may also

designate documents as “Confidential” subject to the same protections and constraints as the

parties to the action. A copy of the Protective Order shall be served along with any

subpoena served in connection with this action. All documents produced by such third parties

shall be treated as “Confidential” for a period of 14 days from the date of their production,

and during that period any party may designate such documents as “Confidential” pursuant to

the terms of the Protective Order.

       6.      Each person appropriately designated pursuant to paragraph 4(g) to receive

Confidential information shall execute a “Written Assurance” in the form attached as Exhibit A.

       7.      All depositions or portions of depositions taken in this action that contain

confidential information may be designated “Confidential” and thereby obtain the protections

accorded other “Confidential” documents. Confidentiality designations for depositions shall be

made either on the record or by written notice to the other party within 14 days of receipt of the


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transcript. Unless otherwise agreed, depositions shall be treated as “Confidential” during the 14-

day period following receipt of the transcript. The deposition of any witness (or any portion of

such deposition) that encompasses Confidential information shall be taken only in the presence

of persons authorized to have access to such information.

       8.      Any party who inadvertently fails to identify documents as “Confidential” shall,

promptly upon discovery of its oversight, provide written notice of the error and substitute

appropriately-designated documents. Any party receiving such improperly-designated

documents shall retrieve such documents from persons not entitled to receive those documents

and, upon receipt of the substitute documents, shall return or destroy the improperly-designated

documents. Any party may elect to rescind or alter the designation of any document as

Confidential by providing written notice to all parties and their Attorneys of such election.

       9.      If a party files a document containing Confidential information with the Court,

it shall do so in compliance with the Electronic Case Filing Procedures for the District of

North Dakota. That policy provides that if a party seeks to file documents designated as

“Confidential,” the party must first file a motion for leave to file under seal, accompanied

by a memorandum in support, setting forth the legal basis for sealing the documents. If

only portions of the documents designated as “Confidential” contain sensitive

information, and a party seeks to file the documents with the Court, that party must (1)

file a motion for leave to file under seal and a memorandum in support of the motion,

which provides an explanation of the legal basis for redacting information from the

document, and (2) attach to the motion for leave to file under seal an unredacted copy of

the document and a proposed redacted copy of the document. The proposed redactions

shall be highlighted or otherwise identified in a manner that enables the Court and the

other party to easily review the proposed redactions. Prior to disclosure at trial or a

hearing of materials or information designated “ Confidential,” the parties may seek

further protections against public disclosure from the Court.




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       10.        Any party may request a change in the designation of any information

designated “Confidential.” Any such document shall be treated as designated until the

change is completed. If the requested change in designation is not agreed to, the party

seeking the change may move the Court for appropriate relief, providing notice to any third

party whose designation of produced documents as “Confidential” in the action may be

affected. The party asserting that the material is Confidential shall have the burden of

proving that the information in question is within the scope of protection afforded by Fed.

R. Civ. P. 26(c).

       11.        Within 60 days of the termination of this action, each party shall either

destroy or return to the opposing party all documents designated by the opposing party as

“Confidential” and all copies of such documents and shall destroy all extracts and/or data

taken from such documents. Each party shall provide a certification as to such return or

destruction within the 60-day period. However, Attorneys shall be entitled to retain a copy

of all documents designated as Confidential under this Order.

       12.        Any party may apply to the Court for a modification of the Protective Order,

and nothing in this Protective Order shall be construed to prevent a party from seeking such

further provisions enhancing or limiting confidentiality as may be appropriate.

       13.        In the event additional parties are joined or permitted to intervene in this Action,

they shall be bound by the terms of this Protective Order.

       14.        No action taken in accordance with the Protective Order shall be construed as a

waiver of any claim or defense in the action or of any position as to discoverability or

admissibility of evidence.

       15.        The obligations imposed by the Protective Order shall survive the termination

of this action.

       16.        This stipulation does not usurp North Dakota Open Records laws. To the extent

there is a conflict between this stipulation and the obligations of any written assurance executed




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pursuant to this stipulation and the North Dakota law as it pertains to public records, North

Dakota law controls.

[¶2]   Stipulated to:

       Dated this 2nd day of February, 2023.
                                               FIEBIGER LAW, LLC


                                               By:     /s/ Rolf T. Fiebiger
                                                      Thomas D. Fiebiger, ND #04190
                                                      Rolf T. Fiebiger, MN #391138
                                                      6800 France Avenue South, Suite 190
                                                      Edina, MN 55435
                                                      Telephone: 612.339.6474
                                                      tom@fiebigerlaw.com
                                                      rolf@fiebigerlaw.com

                                               Attorneys for Plaintiff Dr. Fiona Axelsson.


       Dated this 2nd day of February, 2023.
                                               State of North Dakota
                                               Drew H. Wrigley
                                               Attorney General


                                               By:     /s/ Courtney R. Titus
                                                      Courtney R. Titus
                                                      Deputy Solicitor General
                                                      State Bar ID No. 08810
                                                      Office of Attorney General
                                                      500 North 9th Street
                                                      Bismarck, ND 58501-4509
                                                      Telephone (701) 328-3640
                                                      Facsimile (701) 328-4300
                                                      Email ctitus@nd.gov

                                               Attorneys for Defendant University of North
                                               Dakota School of Medicine & Health Sciences.




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    Dated this 2nd day of February, 2023.
                                            OGLETREE, DEAKINS, NASH,
                                            SMOAK & STEWART, P.C.

                                            By:    /s/ Brent D. Kettelkamp
                                                  Cynthia A. Bremer, ND #05552
                                                  Brent D. Kettelkamp, ND #09600
                                                  Capella Tower
                                                  225 South Sixth Street, Suite 1800
                                                  Minneapolis, MN 55402
                                                  Telephone: 612.339.1818
                                                  cynthia.bremer@ogletree.com
                                                  brent.kettelkamp@ogletree.com

                                                  Attorneys for Defendants Sanford and
                                                  Sanford Health.


    Dated this 2nd day of January, 2023.
                                            MEAGHER & GEER, PLLP

                                            By:    /s/ Tracy Vigness Kolb
                                                  Tracy Vigness Kolb, ND ID# 05338
                                                  1900 Burnt Boat Drive, Suite 101
                                                  Bismarck, ND 58503
                                                  Ph: 701.222.1315
                                                  Direct Ph: 701.333.0638
                                                  tkolb@meagher.com

                                                  Attorneys for Defendant North Dakota
                                                  Professional Health Program


                                             ORDER

The parties’ stipulated protective order is adopted as the Order of the Court.

Dated this 3rd day of February, 2023.

                                                                   /s/ Alice R. Senechal
                                                                   Alice R. Senechal
                                                                   United States Magistrate Judge




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                                             EXHIBIT A

                                     WRITTEN ASSURANCE

         I have read and         I understand the terms of the Protective Order dated

___________________________, filed in Case No. __________________, pending in the

United States District Court for the District of North Dakota. I agree to comply with and be

bound by the provisions of the Protective Order.

         I shall not divulge any documents, or copies of documents, designated “Confidential”

obtained pursuant to such Protective Order, or the contents of such documents, to any person

other than those specifically authorized by the Protective Order. I shall not copy or use such

documents except for the purposes of this action and pursuant to the terms of the Protective

Order.

         As soon as practical, but no later than 30 days after final termination of this action, I shall

destroy or return to the attorney from whom I have received them, any documents in my

possession designated “Confidential,” and all copies, excerpts, summaries, notes, digests,

abstracts, and indices relating to such documents.

         I submit myself to the jurisdiction of the United States District Court for the District of

North Dakota for the purpose of enforcing or otherwise providing relief relating to the Protective

Order.



Executed on _____________________                       ________________________________

                        (Date)                                          (Signature)




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